    Case 21-03020-sgj Doc 126 Filed 10/22/21                 Entered 10/22/21 18:30:07              Page 1 of 5




    LATHAM & WATKINS LLP                                   BUTLER SNOW LLP
    Andrew Clubok (pro hac vice)                           Martin Sosland (TX Bar No. 18855645)
    Sarah Tomkowiak (pro hac vice)                         Candice Carson (TX Bar No. 24074006)
    555 Eleventh Street, NW, Suite 1000                    2911 Turtle Creek Blvd., Suite 1400
    Washington, District of Columbia 20004                 Dallas, Texas 75219
    Telephone: (202) 637-2200                              Telephone: (469) 680-5502

    Jeffrey E. Bjork (pro hac vice)
    Kimberly A. Posin (pro hac vice)
    355 South Grand Avenue, Suite 100
    Los Angeles, CA 90071
    Telephone: (213) 485-1234

    Kathryn George (pro hac vice)
    330 North Wabash Avenue, Suite 2800
    Chicago, IL 60611
    Telephone: (312) 876-7700

    Counsel for UBS Securities LLC and UBS
    AG London Branch

                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION
------------------------------------------------------------
In re                                                        § Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.,1 §                          Case No. 19-34054-sgj11
                                                             §
                                    Debtor.                  §
----------------------------------------------------------- §
UBS SECURITIES LLC AND UBS AG                                § Adversary Proceeding
LONDON BRANCH,                                               §
                                                             § No. 21-03020
                        Plaintiffs,                          §
                                                             §
vs.                                                          §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                             §
                                    Defendant.               §
-----------------------------------------------------------



1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
Case 21-03020-sgj Doc 126 Filed 10/22/21            Entered 10/22/21 18:30:07        Page 2 of 5




         UBS’S WITNESS AND EXHIBIT LIST FOR OCTOBER 27, 2021 HEARING

         UBS Securities LLC and UBS AG London Branch (together, “UBS”), by and through their

undersigned counsel, submit the following witness and exhibit list for the hearing set for 1:30 pm

Central Time on October 27, 2021 in connection with Foreign Non-Party Sentinel Reinsurance,

Ltd.’s Motion for Protective Order [Adv. Dkt. No. 106]. Although Sentinel’s belief that it is

entitled to an evidentiary hearing is unfounded, UBS files this witness and exhibit list out of an

abundance of caution in the event the Court allows evidence to be produced at the October 27

hearing.

A.       WITNESSES THAT UBS MAY CALL TO TESTIFY:

            1. Any witness designated or called by any other party; and

            2. Any witness necessary for impeachment or rebuttal.

B.       DOCUMENTS UBS MAY USE AS EXHIBITS:

 Ex. No.                              Exhibit                              Offered     Admitted

     1      Foreign Non-Party Sentinel Reinsurance, Ltd.’s Motion for
            Protective Order [Adv. Dkt. No. 106]

     2      UBS’s Opposition to Foreign Non-Party Sentinel
            Reinsurance, Ltd.’s Motion for Protective Order [Adv. Dkt.
            No. 108]

     3      Appendix of Exhibits to UBS’s Opposition to Foreign Non-
            Party Sentinel Reinsurance, Ltd.’s Motion for Protective
            Order, and all exhibits attached thereto [Adv. Dkt. No. 109]

     4      UBS’s Motion for Expedited Hearing on Foreign Non-
            Party Sentinel Reinsurance, Ltd.’s Motion for Protective
            Order [Adv. Dkt. No. 110]

     5      Foreign Non-Party Sentinel Reinsurance, Ltd.’s Opposition
            to Plaintiffs’ Motion for an Expedited Hearing [Adv. Dkt.
            No. 111]




                                                2
Case 21-03020-sgj Doc 126 Filed 10/22/21              Entered 10/22/21 18:30:07      Page 3 of 5




 Ex. No.                                Exhibit                            Offered     Admitted

    6        UBS’s Reply in Further Support of Its Motion for Expedited
             Hearing on Foreign Non-Party Sentinel Reinsurance, Ltd.’s
             Motion for Protective Order [Adv. Dkt. No. 112]

    7        Appendix of Exhibits to UBS’s Reply in Further Support of
             Its Motion for Expedited Hearing on Foreign Non-Party
             Sentinel Reinsurance, Ltd.’s Motion for Protective Order,
             and all exhibits attached thereto [Adv. Dkt. No. 113]

    8        UBS’s Notice of Denial of Foreign Non-Party Sentinel
             Reinsurance, Ltd.’s Letter Request for Protective Order in
             N.Y. Supreme Court [Adv. Dkt. No. 116]

    9        Foreign Non-Party Sentinel Reinsurance, Ltd.’s Response
             to UBS’s Notice of Denial of Letter Request for Protective
             Order in New York Supreme Court [Adv. Dkt. No. 117]

    10       Sentinel Reinsurance, Ltd.’s Reply in Support of Its Motion
             for Protective Order and Response to UBS’s Objection to
             Same [Adv. Dkt. No. 123]

    11       All exhibits identified by or offered by any other party at
             the hearing

    12       All exhibits necessary for impeachment and/or rebuttal
             purposes

    13       Any pleadings, reports, or other documents entered or filed
             in the chapter 11 case or related adversary proceedings,
             including any exhibits thereto



         UBS reserves the right to amend or supplement this witness and exhibit list prior to the

hearing.




                                                  3
Case 21-03020-sgj Doc 126 Filed 10/22/21      Entered 10/22/21 18:30:07   Page 4 of 5




DATED this 22nd day of October 2021.

LATHAM & WATKINS LLP

By /s/ Andrew Clubok

Andrew Clubok (pro hac vice)
Sarah Tomkowiak (pro hac vice)
555 Eleventh Street, NW, Suite 1000
Washington, District of Columbia
Telephone: (202) 637-2200
Email: andrew.clubok@lw.com
       sarah.tomkowiak@lw.com

Jeffrey E. Bjork (pro hac vice)
Kimberly A. Posin (pro hac vice)
355 South Grand Avenue, Suite 100
Los Angeles, CA 90071
Telephone: (213) 485-1234
Email: jeff.bjork@lw.com
        kim.posin@lw.com

Kathryn George (pro hac vice)
330 North Wabash Avenue, Suite 2800
Chicago, IL 60611
Telephone: (312) 876-7700
Email: Kathryn.george@lw.com

BUTLER SNOW LLP
Martin Sosland (TX Bar No. 18855645)
Candice M. Carson (TX Bar No. 24074006)
2911 Turtle Creek Blvd., Suite 1400
Dallas, Texas 75219
Telephone: (469) 680-5502
E-mail: martin.sosland@butlersnow.com
        candice.carson@butlersnow.com

Counsel for UBS Securities LLC and UBS
AG London Branch




                                          4
 Case 21-03020-sgj Doc 126 Filed 10/22/21        Entered 10/22/21 18:30:07      Page 5 of 5




                              CERTIFICATE OF SERVICE

        I, Andrew Clubok, certify that UBS’s Witness and Exhibit List For October 27, 2021

Hearing was filed electronically through the Court’s ECF system, which provides notice to all

parties of interest.

        Dated: October 22, 2021.

                                                         /s/ Andrew B. Clubok




                                             5
